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                            EXHIBIT A
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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     -----------------------------------------------------------x

     IN RE: GOOGLE DIGITAL ADVERTISING                                     21-md-3010 (PKC)
     ANTITRUST LITIGATION
                                                                      PRE-TRIAL ORDER NO. 8


     -----------------------------------------------------------x
     CASTEL, Senior District Judge:

                      Through the efforts of Magistrate Judge Anderson of the Eastern District of

     Virginia, this Court, after considering the written submissions of the parties (ECF 536, 542,

     547, 548, 549), and hearing from them orally (ECF 560), entered an Order Regarding

     Coordination of Discovery (ECF 563). The carefully crafted Order addresses coordination

     between the Eastern District of Virginia Action and this MDL. It was entered in the

     context of this Court’s November 21, 2022 Order (PTO 5; ECF 394) setting the date for the

     conclusion of fact discovery of June 28, 2024.

                      The MDL plaintiffs have now presented the Court with a proposed Order

     Coordinating discovery in this MDL with discovery in a factually related action in the

     Eastern District of Texas (ECF 700). Google joins in seeking entry of the proposed Order

     (ECF 706). The MDL plaintiffs have replied (ECF 707).

                       Neither side has addressed the impact of the proposed Order on this Court’s

     pre-existing and generous schedule for the completion of fact discovery. The Court does

     not anticipate extending the date for completion of fact discovery. With 80% of the fact

     discovery period having passed, discovery in this MDL should be winding down. Now is

     not the time to start cross-notices of depositions in the action in the Eastern District of

     Texas.
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                    The Court expresses its appreciation to Judge Jordan and the Special Master

     in the Texas case.

                    Application DENIED.

            SO ORDERED.




     Dated: New York, New York
            March 6, 2024




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